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                                      9
                                                               UNITED STATES DISTRICT COURT
                                      10                     SOUTHERN DISTRICT OF CALIFORNIA
                                      11   TIMOTHY BARRETT,                        Case No.: '14CV2903 H   BGS
                                           INDIVIDUALLY AND ON
                                      12   BEHALF OF ALL OTHERS
                                           SIMILARLY SITUATED,                     CLASS ACTION
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                                      13
  24 5 F ISCHE R A VENUE , U NIT D1




                                                         Plaintiff,                COMPLAINT FOR DAMAGES AND
      C OS TA M ES A , CA 92 62 6




                                      14                                           INJUNCTIVE RELIEF PURSUANT
                                                                 v.                TO THE TELEPHONE CONSUMER
                                      15                                           PROTECTION ACT, 47 U.S.C. § 227,
                                           AMERICAN CONSUMER                       ET SEQ.
                                      16   CREDIT, LLC,
                                      17                Defendant.                 JURY TRIAL DEMANDED
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                                      1                                        INTRODUCTION
                                      2         1. TIMOTHY BARRETT (“Plaintiff”) brings this Class Action Complaint for
                                      3            damages, injunctive relief, and any other available legal or equitable
                                      4            remedies, resulting from the illegal actions of AMERICAN CONSUMER
                                      5            CREDIT, LLC (hereinafter “Defendant”) in negligently contacting Plaintiff
                                      6            on Plaintiff’s cellular telephone, in violation of the Telephone Consumer
                                      7            Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading
                                      8            Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as
                                      9            to herself and her own acts and experiences, and, as to all other matters,
                                      10           upon information and belief, including investigation conducted by their
                                      11           attorneys.
                                      12        2. The TCPA was designed to prevent calls like the ones described within this
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                                      13           complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous
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                                      14           consumer complaints about abuses of telephone technology – for example,
                                      15           computerized calls dispatched to private homes – prompted Congress to pass
                                      16           the TCPA.”
                                      17        3. In enacting the TCPA, Congress intended to give consumers a choice as to
                                      18           how creditors and telemarketers may call them, and made specific findings
                                      19           that “[t]echnologies that might allow consumers to avoid receiving such
                                      20           calls are not universally available, are costly, are unlikely to be enforced, or
                                      21           place an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, §
                                      22           11. Toward this end, Congress found that:
                                      23                  [b]anning such automated or prerecorded telephone calls
                                                          to the home, except when the receiving party consents to
                                      24                  receiving the call or when such calls are necessary in an
                                                          emergency situation affecting the health and safety of the
                                      25                  consumer, is the only effective means of protecting
                                                          telephone consumers from this nuisance and privacy
                                      26                  invasion.
                                      27           Id. at § 12;
                                      28   //

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                                      1      4. Congress also specifically found that “the evidence presented to the
                                      2         Congress indicates that automated or prerecorded calls are a nuisance and an
                                      3         invasion of privacy, regardless of the type of call….” Id. at §§ 12-13.
                                      4      5. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA
                                      5         case regarding calls to a non-debtor similar to this one:
                                      6               The Telephone Consumer Protection Act … is well
                                      7               known for its provisions limiting junk-fax transmissions.
                                      8               A less-litigated part of the Act curtails the use of
                                      9               automated dialers and prerecorded messages to cell
                                      10              phones, whose subscribers often are billed by the minute
                                      11              as soon as the call is answered—and routing a call to
                                      12              voicemail counts as answering the call. An automated
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                                      13              call to a landline phone can be an annoyance; an
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                                      14              automated call to a cell phone adds expense to
                                      15              annoyance.
                                      16     6. The Ninth Circuit recently affirmed certification of a TCPA class action
                                      17        remarkably similar to this one in Meyer v. Portfolio Recovery Associates,
                                      18        LLC, __ F.3d __, 2012 WL 4840814 (9th Cir. Oct. 12, 2012).
                                      19                                  JURISDICTION AND VENUE
                                      20     7. This Court has federal question jurisdiction because this case arises out of
                                      21        violation of federal law. 47 U.S.C. §227(b).
                                      22     8. Venue is proper in the United States District Court for the Southern District
                                      23        of California pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                      24        Plaintiff resides in the City of San Diego, County of San Diego, State of
                                      25        California which is within this judicial district; (ii) the conduct complained
                                      26        of herein occurred within this judicial district; and, (iii) many of the acts and
                                      27        transactions giving rise to this action occurred in this district because
                                      28        Defendant:

                                           CLASS ACTION COMPLAINT                                                   PAGE 3 OF 11
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                                      1                   (a)    is authorized to conduct business in this district and has
                                      2                          intentionally availed itself of the laws and markets within this
                                      3                          district;
                                      4                   (b)    does substantial business within this district;
                                      5                   (c)    is subject to personal jurisdiction in this district because it has
                                      6                          availed itself of the laws and markets within this district; and,
                                      7                   (d)    the harm to Plaintiff occurred within this district.
                                      8                                                 PARTIES
                                      9         9. Plaintiff is, and at all times mentioned herein was, a citizen and resident of
                                      10           the City of San Diego, County of San Diego, State of California. Plaintiff is,
                                      11           and at all times mentioned herein was, a “person” as defined by 47 U.S.C.
                                      12           § 153 (3).
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                                      13        10. Plaintiff is informed and believes, and thereon alleges, that Defendant is, and
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                                      14           at all times mentioned herein was, a limited liability corporation whose
                                      15           primary corporate address is in the State of Florida. Defendant is and at all
                                      16           times mentioned herein was a Florida limited liability corporation with an
                                      17           address at 18 Bovard Avenue, Suite C, Ormond Beach, Florida, 32176, and
                                      18           is a “person,” as defined by 47 U.S.C. § 153 (39). Plaintiff alleges that at all
                                      19           times relevant herein Defendant conducted business in the State of
                                      20           California and in the County of San Diego, and within this judicial district.
                                      21                                     FACTUAL ALLEGATIONS
                                      22        11. Plaintiff alleges that at all times relevant herein Defendant conducted
                                      23           business in the State of California, County of San Diego, and within this
                                      24           judicial district.
                                      25        12. At no time did Plaintiff ever enter into a business relationship with
                                      26           Defendant.
                                      27   //
                                      28   //

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                                      1         13. Beginning sometime on or about October 2014, Defendant initiated
                                      2            telephonic communications from telephone number (224) 241-3903 to
                                      3            Plaintiff’s cellular telephone number ending in “8824”.
                                      4         14. On October 17, 2014, at approximately 9:19 a.m. PST, Defendant initiated a
                                      5            telephone call from telephone number (224) 241-3903 to Plaintiff’s cellular
                                      6            telephone number ending in “8824”.
                                      7         15. During this telephone call, Defendant stated it was calling Plaintiff and all
                                      8            Time Share Owners regarding Time Share Ownership.
                                      9         16. Plaintiff spoke with Defendant and requested that Defendant cease
                                      10           communicating with Plaintiff.
                                      11        17. On information and belief, Plaintiff believes that Defendant used an
                                      12           “automatic telephone dialing system” (or “ATDS”), as defined by 47 U.S.C.
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                                      13           § 227(a)(1) to repeatedly call Plaintiff because Plaintiff was greeted by
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                                      14           “dead air” prior to speaking with Defendant.
                                      15        18. This ATDS has the capacity to store or produce telephone numbers to be
                                      16           called, using a random or sequential number generator.
                                      17        19. This telephone communication constituted telephone solicitation, as defined
                                      18           by 47 U.S.C. § 227(a)(4).
                                      19        20. Defendant’s call constituted a call that was not for emergency purposes, as
                                      20           defined by 47 U.S.C. § 227(b)(1)(A)(i).
                                      21        21. Defendant’s call was placed to telephone number assigned to a cellular
                                      22           telephone service for which Plaintiff incurs a charge for incoming calls
                                      23           pursuant to 47 U.S.C. § 227(b)(1).
                                      24        22. Defendant did not have prior written express consent to call Plaintiff and
                                      25           make this telephone solicitation, as defined by 47 U.S.C. § 227(a)(4).
                                      26        23. These telephone communications by Defendant, or its agent, violated 47
                                      27           U.S.C. § 227(b)(1).
                                      28   //

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                                      1                               CLASS ACTION ALLEGATIONS
                                      2      24. Plaintiff brings this action on behalf of himself and on behalf of all others
                                      3         similarly situated (“the Class”).
                                      4      25. Plaintiff represents, and is a member of the Class, consisting of:
                                      5                All persons within the United States who received any
                                                       telephone call from Defendant or their agent/s and/or
                                      6
                                                       employee/s, not sent for emergency purposes, to said
                                      7                person’s cellular telephone made through the use of any
                                                       automatic telephone dialing system and/or with an
                                      8
                                                       artificial or prerecorded message within the four years
                                      9                prior to the filing of this Complaint.
                                      10     26. Defendant and its employees or agents are excluded from the Class.
                                      11        Plaintiff does not know the number of members in the Class, but believes the
                                      12        Class members number in the hundreds of thousands, if not more. Thus, this
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                                      13        matter should be certified as a Class action to assist in the expeditious
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                                      14        litigation of this matter.
                                      15     27. Plaintiff and members of the Class were harmed by the acts of Defendant in
                                      16        at least the following ways: Defendants, either directly or through its agents,
                                      17        illegally contacted Plaintiff and the Class members via their cellular
                                      18        telephones by using an ATDS, thereby causing Plaintiff and the Class
                                      19        members to incur certain cellular telephone charges or reduce cellular
                                      20        telephone time for which Plaintiff and the Class members previously paid,
                                      21        and invading the privacy of said Plaintiff and the Class members. Plaintiff
                                      22        and the Class members were damaged thereby.
                                      23     28. This suit seeks only damages and injunctive relief for recovery of economic
                                      24        injury on behalf of the Class, and it expressly is not intended to request any
                                      25        recovery for personal injury and claims related thereto. Plaintiff reserves the
                                      26        right to expand the Class definition to seek recovery on behalf of additional
                                      27        persons as warranted as facts are learned in further investigation and
                                      28        discovery.

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                                      1         29. The joinder of the Class members is impractical and the disposition of their
                                      2            claims in the Class action will provide substantial benefits both to the parties
                                      3            and to the court. The Class can be identified through Defendants’ records or
                                      4            Defendants’ agents’ records.
                                      5         30. There is a well-defined community of interest in the questions of law and
                                      6            fact involved affecting the parties to be represented. The questions of law
                                      7            and fact to the Class predominate over questions which may affect
                                      8            individual Class members, including the following:
                                      9            a)    Whether, within the four years prior to the filing of this Complaint,
                                      10                 Defendant or its agents initiated any telephonic communications to the
                                      11                 Class (other than a message made for emergency purposes or made
                                      12                 with the prior express consent of the called party) to a Class member
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                                      13                 using any automatic dialing to any telephone number assigned to a
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                                      14                 cellular phone service;
                                      15           b)    Whether Defendant can meet its burden of showing it obtained prior
                                      16                 express consent (i.e., consent that is clearly and unmistakably stated);
                                      17           c)    Whether Defendant’s conduct was knowing and/or willful;
                                      18           d)    Whether Plaintiff and the Class members were damaged thereby, and
                                      19                 the extent of damages for such violation; and
                                      20           e)    Whether Defendants and its agents should be enjoined from engaging
                                      21                 in such conduct in the future.
                                      22        31. As a person that received at least one telephonic communication from
                                      23           Defendant’s ATDS without Plaintiff’s prior written express consent,
                                      24           Plaintiff is asserting claims that are typical of the Class. Plaintiff will fairly
                                      25           and adequately represent and protect the interests of the Class in that
                                      26           Plaintiff has no interests antagonistic to any member of the Class.
                                      27   //
                                      28   //

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                                      1         32. Plaintiff and the members of the Class have all suffered irreparable harm as
                                      2            a result of the Defendants’ unlawful and wrongful conduct. Absent a class
                                      3            action, the Class will continue to face the potential for irreparable harm. In
                                      4            addition, these violations of law will be allowed to proceed without remedy
                                      5            and Defendants will likely continue such illegal conduct. Because of the
                                      6            size of the individual Class member’s claims, few, if any, Class members
                                      7            could afford to seek legal redress for the wrongs complained of herein.
                                      8         33. Plaintiff has retained counsel experienced in handling class action claims
                                      9            and claims involving violations of the Telephone Consumer Protection Act.
                                      10        34. A class action is a superior method for the fair and efficient adjudication of
                                      11           this controversy. Class-wide damages are essential to induce Defendants to
                                      12           comply with federal and California law. The interest of Class members in
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                                      13           individually controlling the prosecution of separate claims against
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      C OS TA M ES A , CA 92 62 6




                                      14           Defendants is small because the maximum statutory damages in an
                                      15           individual action for violation of privacy are minimal. Management of these
                                      16           claims is likely to present significantly fewer difficulties than those
                                      17           presented in many class claims.
                                      18        35. Defendant has acted on grounds generally applicable to the Class, thereby
                                      19           making appropriate final injunctive relief and corresponding declaratory
                                      20           relief with respect to the Class as a whole.
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                                           CLASS ACTION COMPLAINT                                                    PAGE 8 OF 11
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                                      1                                FIRST CAUSE OF ACTION
                                      2                             NEGLIGENT VIOLATIONS OF THE
                                      3                         TELEPHONE CONSUMER PROTECTION ACT
                                      4                                47 U.S.C. § 227 ET SEQ.
                                      5      36. Plaintiff incorporates by reference all of the above paragraphs of this
                                      6         Complaint as though fully stated herein.
                                      7      37. The foregoing acts and omissions of Defendant constitutes numerous and
                                      8         multiple negligent violations of the TCPA, including but not limited to each
                                      9         and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                                      10
                                      11     38. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
                                      12        Plaintiff and the Class are entitled to an award of $500.00 in statutory
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                                      13        damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
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      C OS TA M ES A , CA 92 62 6




                                      14     39. Plaintiff and the Class are also entitled to and seek injunctive relief
                                      15        prohibiting such conduct in the future.
                                      16                              SECOND CAUSE OF ACTION
                                      17                  KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                                      18                        TELEPHONE CONSUMER PROTECTION ACT
                                      19                               47 U.S.C. § 227 ET SEQ.
                                      20     40. Plaintiff incorporates by reference all of the above paragraphs of this
                                      21        Complaint as though fully stated herein.
                                      22     41. The foregoing acts and omissions of Defendant constitutes numerous and
                                      23        multiple knowing and/or willful violations of the TCPA, including but not
                                      24        limited to each and every one of the above-cited provisions of 47 U.S.C.
                                      25        § 227 et seq.
                                      26     42. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                                      27        § 227 et seq, Plaintiff and the Class are entitled to an award of $1,500.00 in
                                      28

                                           CLASS ACTION COMPLAINT                                                PAGE 9 OF 11
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                                      1          statutory damages, for each and every violation, pursuant to 47 U.S.C.
                                      2          § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
                                      3       43. Plaintiff and the Class are also entitled to and seek injunctive relief
                                      4          prohibiting such conduct in the future.
                                      5                                        PRAYER FOR RELIEF
                                      6    WHEREFORE, Plaintiff and the Class Members pray for judgment as follows:
                                      7          • Certifying The Class as requested herein;
                                      8          • Providing such further relief as may be just and proper.
                                      9    In addition, Plaintiff and The Class Members pray for further judgment as
                                      10   follows:
                                      11                 FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                                      12                            THE TCPA, 47 U.S.C. § 227 ET SEQ.
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                                      13        • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
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      C OS TA M ES A , CA 92 62 6




                                      14              Plaintiff seeks for himself and each Class member $500.00 in statutory
                                      15              damages, for each and every violation, pursuant to 47 U.S.C.
                                      16              § 227(b)(3)(B).
                                      17        • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                      18              conduct in the future.
                                      19        • Any other relief the Court may deem just and proper.
                                      20         SECOND CAUSE OF ACTION FOR KNOWING/WILLFUL VIOLATION OF
                                      21                            THE TCPA, 47 U.S.C. § 227 ET SEQ.

                                      22        • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                                      23              § 227(b)(1), Plaintiff seeks for himself and each Class member $1,500.00
                                      24              in statutory damages, for each and every violation, pursuant to 47 U.S.C.
                                      25              § 227(b)(3)(B).
                                      26        • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                      27              conduct in the future.
                                      28        • Any other relief the Court may deem just and proper.

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                                      1                                      TRIAL BY JURY
                                      2       44. Pursuant to the seventh amendment to the Constitution of the United States
                                      3          of America, Plaintiff is entitled to, and demands, a trial by jury.
                                      4
                                      5    Dated: December 8, 2014                              Respectfully submitted,
                                      6
                                                                                                KAZEROUNI LAW GROUP, APC
                                      7
                                      8
                                                                                          By: _/s/ ABBAS KAZEROUNIAN_____
                                      9                                                         ABBAS KAZEROUNIAN, ESQ.
                                                                                                MONA AMINI, ESQ.
                                      10
                                                                                                ATTORNEYS FOR PLAINTIFF
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      C OS TA M ES A , CA 92 62 6




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